     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 1 of 24 Page ID
                                      #:4175



 1    Hon. Andrew J. Guilford (Ret.)
      Judicate West
 2    1851 East First Street
      Suite 1600
 3    Santa Ana, CA 92705
      Phone: (714) 834-1340
 4
      Special Master
 5

 6

 7                                     IN THE UNITED STATES DISTRICT COURT
 8                                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9                                             SOUTHERN DIVISION
10

11     THRIVE NATURAL CARE, INC.                       )
                                                       )   Case No. 2:21-cv-02022-DOC-KES
12                     Plaintiff,                      )
                                                       )   (Judicate West Reference No. A281487)
13            v.                                       )
                                                       )
14     LE-VEL BRANDS, LLC,                             )   ORDER OF SPECIAL MASTER REGARDING
                                                       )   THREE APRIL 20, 2022 MOTIONS: (1) TNC’S
15                     Defendant.                      )   MOTION TO COMPEL DEPOSITION; (2) TNC’S
                                                       )   MOTION TO COMPEL FURTHER RESPONSES TO
16                                                     )   RFA NOS. 4–7, 76, AND 111 OR DEEM THEM
                                                       )   ADMITTED; AND (3) LE-VEL’S DISCOVERY
17                                                     )   MOTION
                                                       )
18                                                     )
19

20

21

22

23           On October 18, 2021, the Honorable David O. Carter appointed this Special Master “for

24    purposes of resolving the parties’ discovery disputes.” (Dkt. No. 89 at 2 ¶ 1; see also id. at ¶ 2.)

25    The Order Appointing Special Master requires that “[a]ll rulings of the Special Master shall be

26    reduced to a reasoned written order.” (Id. at 3 ¶ 9.) “The Special Master shall issue rulings by order,

27    except for any contempt findings that shall be issued by report and recommendation.” (id. (citation

28    omitted).)

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 2 of 24 Page ID
                                      #:4176



 1            “The Special Master shall provide any written order, report, or recommendation to counsel

 2    for the parties by email to give them an opportunity to propose redactions before submission to the

 3    Court.” (Id.)

 4            The Scheduling Order in this case set the fact discovery cutoff for April 15, 2022. (Dkt. No.

 5    83 at 1.) That order further states, “[a]ny motion regarding the inadequacy of responses to

 6    discovery must be filed and served no later than five (5) days after the discovery cut-off date.” (Id.

 7    at 3.) In keeping with these deadlines, on April 20, 2022 the parties collectively filed three letter

 8    brief discovery motions with the Special Master. Three opposition letters were filed on April 27,

 9    2022 and three reply letters were filed on May 4, 2022. The Special Master lists and addresses the

10    motions here in no particular order.

11            First, Plaintiff Thrive Natural Care, Inc. (“TNC”) has filed a letter brief requesting “an order

12    from the Special Master directing that Mr. [Jason] Camper [(Le-Vel’s CEO)] must appear for a full-

13    length personal deposition without . . . restrictions.” (Camper Mot. at 1.) Defendant Le-Vel Brands,

14    LLC (“Le-Vel”) opposed (Camper Opp’n), and TNC has filed a reply (Camper Reply).

15            Second, TNC has filed a letter brief requesting that “the Special Master order Le-Vel to

16    provide substantive answers to [RFA Nos. 4–7, 76, and 111] or deem them admitted.” (RFA Mot.

17    at 1.) Le-Vel filed an opposition to the motion (RFA Opp’n), and TNC replied (RFA Reply).

18            Third, Le-Vel has filed an omnibus discovery motion seeking the following relief.

19            (1) [TNC] be compelled to produce a corporate designee for an additional three hours
20            of deposition in light of late-produced documents, (2) Ecomundi be compelled to
              produce a corporate designee for an additional two hours of deposition in light of late-
21            produced documents, and (3) Adam McIntosh be compelled to sit for the remainder of
              his 30(b)(1) deposition. Le-Vel further requests the Special Master order: (1) TNC to
22            produce documents responsive to Le-Vel’s [RFPs] Nos. 66, 67, and 69; (2) Ecomundi
              to produce documents responsive to RFP No. 21 in the Subpoena to Produce
23            Documents to Ecomundi; and (3) TNC to provide supplemental responses to Le-Vel’s
24            [RFAs] Nos. 360–74.

25    (Le-Vel Mot. at 1.)
26            A hearing was held on May 19, 2022 at 9:00am via Zoom. Before the hearing, the parties
27    were provided with a tentative ruling regarding each of their three motions. At the outset of the
28    hearing, both parties orally stipulated that the hearing could proceed without a Court Reporter
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 3 of 24 Page ID
                                      #:4177



 1    present. Around 9:20am, Debra B. Farfan, CSR No. 11648, joined the hearing and reported the

 2    remainder of the proceeding, including by reporting the Special Master’s summary of the discussion

 3    between the parties and Special Master before her arrival.

 4           The Special Master now rules as follows.

 5               •   The Special Master GRANTS TNC’s April 20, 2022 motion to compel the deposition of

 6                   Jason Camper and RECOMMENDS that the scheduling order in this matter be

 7                   AMENDED solely for the purpose of permitting TNC to take its 7-hour, unrestricted

 8                   Rule 30(b)(1) deposition of Camper, to begin at a date, time, and location mutually

 9                   agreeable to the parties but no later than June 30, 2022.

10               •   The Special Master GRANTS-IN-PART and DENIES-IN-PART TNC’s April 20, 2022

11                   motion to compel further responses to its RFAs as stated in Section 2.6 of this Order

12                   and explained in the other subsections of Section 2.

13               •   The Special Master GRANTS-IN-PART and DENIES-IN-PART Le-Vel’s April 20, 2022

14                   omnibus discovery motion as stated in Section 3.5 of this Order and explained in the

15                   other subsections of Section 3.

16    1.     TNC’S MOTION TO COMPEL THE DEPOSITION OF JASON CAMPER

17           In January 2022, TNC brought a discovery motion about various disputes. The Special

18    Master issued a February 10, 2022 Order regarding that motion. In it, the Special Master observed

19    that, “[f]or the first time in its reply brief, TNC requested that Le-Vel be compelled to identify its CEO

20    Jason Camper as a document custodian and produce him for a deposition.” (Feb. 10, 2022 Special

21    Master Order at 5.) The Special Master denied these requests based on TNC’s failure to timely raise

22    them in its opening letter brief. (Id.) But the Special Master also adopted some of Le-Vel’s proposed

23    language for the order, finding that even considering the issue on the merits, Camper would be

24    considered an Apex witness. (Id.) The adopted language in the order goes on to state, “TNC has not

25    shown that (1) Mr. Camper has unique first-hand, non-repetitive knowledge of the facts at issue in

26    the case and (2) it has exhausted other less intrusive discovery methods.” (Id. at 6.) The Order
27    alternatively denies TNC’s late-raised request for a deposition of Camper on that basis.

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 4 of 24 Page ID
                                      #:4178



 1           Some additional factual circumstances have since emerged. On April 14, 2022, “Le-Vel

 2    informed TNC that Le-Vel’s sole identified witness Drew Hoffman, President and [Chief Legal

 3    Officer], was ‘transitioning away’ to an ‘external position’[.]” (Camper Mot. at 1.) Apparently,

 4    Hoffman was the only Le-Vel witness listed on Le-Vel’s initial disclosures, and in March 2022

 5    Hoffman sat for a full deposition as Le-Vel’s Rule 30(b)(6) designee. In the April 14, 2022 email

 6    informing TNC’s counsel of Hoffman’s transition, Le-Vel stated that Hoffman “would remain a fact

 7    witness at trial in October.” (Camper Opp’n at 1.) Le-Vel also “alerted TNC that, because of the

 8    transition, Mr. Camper may be called as a witness at trial.” (Id. at 1–2.) Le-Vel provided TNC with

 9    this news the day before the fact discovery deadline, and indeed after the deadline for commencing

10    depositions had already passed. (Dkt. No. 83 at 2 (Scheduling Order, stating, “[a]ll depositions shall

11    be scheduled to commence at least five (5) working days prior to the discovery cut-off date.”).)

12           During meet and confer efforts between the parties after the April 14, 2022 email but

13    before TNC’s motion was filed, Le-Vel stated that it was agreeable to permitting a 2-hour Rule

14    30(b)(1) deposition of Camper if it was limited to four topics, listed as follows.

15
             (1) Mr. Camper’s past professional experience with isXperia, LifeFX, and POWDRemix;
16           (2) Le-Vel’s creation and rollout of its operational structure (e.g., product
17           manufacturers, warehouses, shipping, promoters/customers, databases, and
             invoicing); (3[)] Le-Vel’s three initial THRIVE products (collectively known as the Thrive
18           Experience); and (4) Le-Vel’s general natural product expansions over the years and
             general business direction.
19

20    (Camper Opp’n at 2.) Apparently, and notably, “Le-Vel also offered to limit any trial testimony of Mr.

21    Camper to those subjects.” (Id.) TNC declined this offer, and filed the current motion seeking an

22    unrestricted deposition of Camper for a full 7 hours.

23           The morning of the scheduled hearing on the parties’ April 20 discovery motions, Le-Vel’s

24    counsel sent an email to all counsel and the Special Master’s Case Manager. The email, which Le-

25    Vel’s counsel referenced at the hearing but was not forwarded to the Special Master until after the

26    hearing had concluded, described additional developments. Le-Vel’s counsel reported that they had

27    “learned that Le-Vel and Mr. Hoffman have been unable to reach final agreement over Mr. Hoffman

28    serving as an outside consultant for Le-Vel,” such that “Mr. Hoffman will not appear as a witness at

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 5 of 24 Page ID
                                      #:4179



 1    trial in October.” In addition to asserting that Le-Vel would be amending its initial disclosures to

 2    delete Hoffman and add two new Le-Vel witnesses, Le-Vel’s counsel further stated that “in view of

 3    this development, Le-Vel proposes adding a fifth topic for Mr. Camper about the THRIVE SKIN name

 4    collection . . . Le-Vel is agreeable to adding an additional half hour so that the time of the deposition

 5    would be adjusted . . . to two and a half hours.”

 6           During the hearing, the Special Master informed TNC’s counsel that he would invite further

 7    written briefing in response to Le-Vel’s email only if the email impacted any of his decisions on

 8    disputed issues. But rather than wait for further correspondence from the Special Master, TNC’s

 9    counsel sent a responsive email to counsel for all parties and the Special Master less than two

10    hours after the hearing concluded. In it, TNC’s counsel argued that TNC still intended to call

11    Hoffman as a witness at trial. TNC argued that it will later move in limine before the Court to

12    exclude Camper and Le-Vel’s other two late-added witnesses from testifying at trial. TNC also

13    asserted that “to the extent Mr. Camper is allowed to testify at trial, his testimony should remain

14    limited to the four items that Le-Vel initially identified.” But TNC further argued that “if Mr. Camper

15    is allowed to also testify on Le-Vel’s new proposed topic of “the THRIVE SKIN name selection” . . .

16    we request a normal, 7-hour 30(b)(1),[ ]deposition of Camper with no artificial restrictions.

17            In the tentative ruling, it was highly relevant to the Special Master that TNC’s reply brief did

18    not place emphasis on the procedural issues caused by the timing of Le-Vel’s disclosure of its

19    personnel change. Instead, to support its position that TNC should be permitted a full deposition of

20    Camper, TNC’s reply brief relied heavily on arguments about the Apex doctrine and Camper’s

21    personal knowledge of disputed facts. For this reason and others, the tentative ruling granted-in-

22    part and denied-in-part TNC’s request for a deposition of Camper in a manner consistent with Le-

23    Vel’s compromise offer. That is, the tentative ruling would have permitted a 2-hour Rule 30(b)(1)

24    deposition of Camper on the four topics that Le-Vel previously identified, with the further ruling that

25    Camper would be limited to testifying solely regarding those four topics at trial.

26           But the Special Master cannot ignore the apparently ongoing and last-minute adjustments
27    to the witnesses Le-Vel would seek to identify in its initial disclosures, and ultimately call at trial.

28    Circumstances at Le-Vel have changed. As Le-Vel’s counsel acknowledged at the hearing, in

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 6 of 24 Page ID
                                      #:4180



 1    circumstances like this, it’s important for counsel to collaborate and determine agreeable ways to

 2    ameliorate any prejudice that such changes can cause in trial preparation. Le-Vel’s proposal of a

 3    2.5-hour deposition on five topics, particularly given the central importance of Le-Vel’s newly-

 4    proposed topic, is insufficient on the current record. The Special Master finds upon further review

 5    and consideration of all arguments presented that Le-Vel’s arguments about the Apex doctrine

 6    should not be used to preclude an unrestricted 7-hour Rule 30(b)(1) deposition of Camper in these

 7    circumstances.

 8            The Special Master GRANTS TNC’s motion to compel Camper’s deposition. The Special

 9    Master further RECOMMENDS that the scheduling order in this matter be AMENDED solely for the

10    purpose of permitting TNC to take its 7-hour, unrestricted Rule 30(b)(1) deposition of Camper, to

11    begin at a date, time, and location mutually agreeable to the parties but no later than June 30,

12    2022.

13    2.      TNC’S MOTION TO COMPEL FURTHER RESPONSES TO RFA NOS. 4–7, 76, AND 111

14            TNC’s motion initially disputed the sufficiency of Le-Vel’s supplemental responses to six of

15    its RFAs, and specifically to RFA Nos. 4–7, 76, and 111. In its opposition, Le-Vel states in a footnote

16    that “now that Le-Vel has TNC’s clarification for RFA 76, it will provide a supplemental response by

17    May 4, 2022.” (RFA Opp’n at 5 n.5.) TNC does not present further argument regarding RFA No. 76

18    in its reply, but that reply was also due on May 4, 2022, providing no time for TNC to review Le-Vel’s

19    supplemental response before briefing on this motion was complete. The Special Master DENIES

20    TNC’s motion AS MOOT as to RFA No. 76 and does not address it further in this ruling. At the

21    hearing, counsel for Le-Vel confirmed the Special Master’s ruling on RFA No. 76, and counsel for

22    TNC did not offer any further comment or argument.

23            The text of the remaining disputed RFAs and Le-Vel’s responses is provided in this Order, for

24    the convenience of the Special Master and parties.

25            2.1    RFA NO. 4

26    REQUEST FOR ADMISSION NO. 4:
27                4.     Admit that Le-Vel knew of TNC, the ’942 Registration, and the
           application that matured as the ’303 Registration, before Le-Vel began selling its
28         Thrive Skin Products.

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 7 of 24 Page ID
                                      #:4181



      RESPONSE TO ADMISSION NO. 4:
 1                 Le-Vel objects to this request to the extent it seeks information subject to
 2         attorney-client privilege and/or attorney-client work product privileges or information
           containing or reflecting the mental impressions, conclusions, opinions, or legal
 3         theories of Le-Vel’s attorneys or other representatives.
                   Le-Vel objects to this request on the ground that it is compound, asking Le-Vel
 4         to admit that it knew of (1) TNC, (2) the ‘942 Registration, and (3) the application that
           matured to the ‘303 Registration before it began selling its Thrive Skin Products.
 5                 Le-Vel objects to this request on the ground that “knew of” is vague, ambiguous,
 6         and undefined.
                   Le-Vel objects to this request on the ground that “began selling” is vague,
 7         ambiguous, and undefined.
      SUPPLEMENTAL RESPONSE TO ADMISSION NO. 4:
 8                 In an April 16, 2022 email from TNC to Le-Vel relating to the parties’ April 12,
           2022 meet-and-confer, TNC clarified that “knew of” shall mean “actual knowledge” for
 9         purposes of this request.
                   Le-Vel understands this request, as revised, to seek an admission as to whether
10
           Le-Vel had actual knowledge of TNC, the ’942 Registration, and the application that
11         matured as the ’303 Registration, before Le-Vel began selling its Thrive Skin Products.
           Le-Vel objects to this request on the ground that, as revised, it calls for the admission
12         of a legal conclusion because “actual knowledge” is a legal question.
                   Le-Vel further objects to this request as revised on the ground that it seeks
13         discovery of information that requires complex judgments and nuanced appraisals,
           which is an improper use of a request for admission. See Gibson Brands Inc. v. John
14
           Hornby Skewes & Co., No. CV 14-0609 DDP (SS), 2015 WL 12681376, at *6 (C.D. Cal.
15         July 20, 2015).
                   Subject to the above general and specific objections, Le-Vel admits that a
16         trademark search conducted by Le-Vel’s counsel in or around August 2017 contained
           computer-generated listings for certain information related to TNC, a computer
17         generated listing for certain information about the ’942 Registration, and a computer
           generated listing for certain information about the application underlying the ’303
18         Registration along with listings for many hundreds of other third-party trademark
19         registrations, applications, and information. Otherwise, Le-Vel is unable to admit or
           deny this request.
20
      SPECIAL MASTER’S RULING REGARDING RFA NO. 4:
21
             The Special Master DENIES TNC’s motion to compel a further response to RFA No. 4
22
      because RFA No. 4 is compound. The parties did not present further oral argument on this RFA at
23
      the hearing.
24
             2.2     RFA NO. 5
25
      REQUEST FOR ADMISSION NO. 5:
26                5.      Admit that Le-Vel had knowledge of the ’942 Registration as of
           August 2017.
27    RESPONSE TO ADMISSION NO. 5:
28                Le-Vel objects to this request to the extent it seeks information subject to
           attorney-client privilege and/or attorney-client work product privileges or information
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 8 of 24 Page ID
                                      #:4182



           containing or reflecting the mental impressions, conclusions, opinions, or legal
 1         theories of Le-Vel’s attorneys or other representatives.
 2                 Le-Vel objects to this request on the ground that “had knowledge” is vague,
           ambiguous, and undefined.
 3                 Subject to the above general objections, and to the extent this request is
           understood, Le-Vel admits that a trademark search conducted by Le-Vel’s counsel in
 4         or around August 2017 contained a computer-generated listing for certain information
           about the ’942 Registration along with listings for many hundreds of other third-party
 5         trademark registrations, applications, and information. Otherwise, Le-Vel is unable to
 6         admit or deny this request.
      SUPLLEMENTAL RESPONSE TO ADMISSION NO. 5:
 7                 In an April 16, 2022 email from TNC to Le-Vel relating to the parties’ April 12,
           2022 meet-and-confer, TNC clarified that “knowledge” shall mean “actual knowledge”
 8         for purposes of this request.
                   Le-Vel understands this request, as revised, to seek an admission as to whether
 9         Le-Vel had actual knowledge of the ’942 Registration as of August 2017. Le-Vel objects
           to this request on the ground that, as revised, it calls for the admission of a legal
10
           conclusion because “actual knowledge” is a legal question.
11                 Le-Vel further objects to this request as revised on the ground that it seeks
           discovery of information that requires complex judgments and nuanced appraisals,
12         which is an improper use of a request for admission. See Gibson Brands Inc. v. John
           Hornby Skewes & Co., No. CV 14-0609 DDP (SS), 2015 WL 12681376, at *6 (C.D. Cal.
13         July 20, 2015).
                   Subject to the above general objections, and to the extent this request is
14
           understood, Le-Vel admits that a trademark search conducted by Le-Vel’s counsel in
15         or around August 2017 contained a computer-generated listing for certain information
           about the ’942 Registration along with listings for many hundreds of other third-party
16         trademark registrations, applications, and information. Otherwise, Le-Vel is unable to
           admit or deny this request.
17
      SPECIAL MASTER’S RULING REGARDING RFA NO. 5
18
             Le-Vel’s objections and argument regarding this RFA are unpersuasive. In particular, Le-Vel’s
19
      argument that this RFA calls for a legal conclusion must be rejected. This RFA asks Le-Vel to admit
20
      or deny a simple fact: whether Le-Vel, not Le-Vel’s outside counsel, had actual knowledge of the
21
      ’942 Registration by August 2017. That this fact may be relevant to certain causes of action in this
22
      case doesn’t change its nature as a basic fact that is properly the subject of fact discovery,
23
      including through a request for admission.
24
             At the hearing, Le-Vel’s counsel suggested that Le-Vel would agree to supplement its
25
      response to this RFA, but only to more explicitly state that Le-Vel’s knowledge of the ’942
26
      Registration as of August 2017 was “tied to the information” that was included in the trademark
27
      search report conducted by Le-Vel’s counsel that month.
28

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 9 of 24 Page ID
                                      #:4183



 1           If Le-Vel had knowledge of the ’942 Registration in August 2017, whether as a result of a

 2    review of the trademark search report or based on information from another source, the fair and

 3    reasonable response to this RFA is an admission. If Le-Vel wants to go on to further explain such an

 4    admission, it can do so. The Special Master cannot otherwise provide guidance at this time

 5    regarding whether Le-Vel’s proposal for how it would seek to supplement would indeed provide a

 6    sufficient response to this RFA.

 7           The Special Master finds that Le-Vel’s original and supplemental responses to RFA No. 5 fail

 8    to fairly and reasonably respond to the request. The Special Master GRANTS TNC’s motion in that

 9    Le-Vel must further supplement its response to this RFA. Le-Vel will be provided with one additional

10    opportunity to appropriately do so, including by stating whether it admits or denies that it had

11    actual knowledge of the ’942 Registration as of August 2017.

12           2.3    RFA NO. 6

13    REQUEST FOR ADMISSION NO. 6:
14                 6.     Admit that Le-Vel had knowledge of the application that matured as the
           ’303 Registration as of August 2017.
15    RESPONSE TO ADMISSION NO. 6:
                   Le-Vel objects to this request to the extent it seeks information subject to
16         attorney-client privilege and/or attorney-client work product privileges or information
           containing or reflecting the mental impressions, conclusions, opinions, or legal
17         theories of Le-Vel’s attorneys or other representatives.
18                 Le-Vel objects to this request on the ground that “had knowledge” is vague,
           ambiguous, and undefined.
19                 Subject to the above general objections, and to the extent this request is
           understood, Le-Vel admits that a trademark search conducted by Le-Vel’s counsel in
20         or around August 2017 contained a computer-generated listing for certain information
           about the application underlying the ’303 Registration along with listings for many
21         hundreds of other third-party trademark registrations, applications, and information.
           Otherwise, Le-Vel is unable to admit or deny this request.
22
      SUPPLEMENTAL RESPONSE TO ADMISSION NO. 6:
23                 In an April 16, 2022 email from TNC to Le-Vel relating to the parties’ April 12,
           2022 meet-and-confer, TNC clarified that “knowledge” shall mean “actual knowledge”
24         for purposes of this request
                   Le-Vel understands this request, as revised, to seek an admission as to whether
25         Le-Vel had actual knowledge of the application that matured as the ’303 Registration
           as of August 2017. Le-Vel objects to this request on the ground that, as revised, it calls
26
           for the admission of a legal conclusion because “actual knowledge” is a legal question.
27                 Le-Vel further objects to this request as revised on the ground that it seeks
           discovery of information that requires complex judgments and nuanced appraisals,
28         which is an improper use of a request for admission. See Gibson Brands Inc. v. John

                                                      9
     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 10 of 24 Page ID
                                       #:4184



             Hornby Skewes & Co., No. CV 14-0609 DDP (SS), 2015 WL 12681376, at *6 (C.D. Cal.
 1           July 20, 2015).
 2                  Subject to the above general objections, and to the extent this request is
             understood, Le-Vel admits that a trademark search conducted by Le-Vel’s counsel in
 3           or around August 2017 contained a computer-generated listing for certain information
             about the application underlying the ’303 Registration along with listings for many
 4           hundreds of other third-party trademark registrations, applications, and information.
             Otherwise, Le-Vel is unable to admit or deny this request.
 5

 6    SPECIAL MASTER’S RULING REGARDING RFA NO. 6
 7           The same reasoning for RFA No. 5 also applies to the parties’ dispute regarding RFA No. 6.
 8           The Special Master finds that Le-Vel’s original and supplemental responses to RFA No. 6 fail
 9    to fairly and reasonably respond to the request. The Special Master GRANTS TNC’s motion in that
10    Le-Vel must further supplement its response to this RFA. Le-Vel will be provided with one additional
11    opportunity to appropriately do so, including by stating whether it admits or denies that it had
12    actual knowledge of the application that matured as the ’303 Registration as of August 2017.
13           2.4    RFA NO. 7
14
      REQUEST FOR ADMISSION NO. 7:
15                7.      Admit that Le-Vel knew of TNC’s use of the THRIVE Mark on Skincare
           Products before Le-Vel began selling or offering for sale any Thrive Skin Products.
16    RESPONSE TO ADMISSION NO. 7:
                  Le-Vel objects to this request on the ground that it is compound given that
17         “THRIVE Mark” is defined by TNC as multiple Marks.
                  Le-Vel objects to this request to the extent it seeks information subject to
18
           attorney-client privilege and/or attorney-client work product privileges or information
19         containing or reflecting the mental impressions, conclusions, opinions, or legal
           theories of Le-Vel’s attorneys or other representatives.
20                Le-Vel objects to this request on the ground that the term “selling” is vague,
           ambiguous, and undefined. For purposes of its response, Le-Vel understands this
21         request to seek an admission that Le-Vel knew of TNC’s use of the THRIVE Mark on
           Skincare Products (as understood and defined by Le-Vel in the general objections
22
           above) before Le-Vel began distributing or offering for sale any Thrive Skin Products.
23                Le-Vel objects to this request on the ground that “knew of” is vague, ambiguous,
           and undefined.
24                Subject to the above general and specific objections, and to the extent this
           request is understood, Le-Vel denies that it knew of TNC’s use of the THRIVE Mark on
25         Skincare Products (as understood and defined by Le-Vel in the general objections
           above) before Le-Vel began selling or offering for sale its Thrive Skin Products.
26    SUPPLEMENTAL RESPONSE TO ADMISSION NO. 7:
27                In an April 16, 2022 email from TNC to Le-Vel relating to the parties’ April 12,
           2022 meet-and-confer, TNC clarified that “knew of” shall mean “actual knowledge” for
28         purposes of this request

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 11 of 24 Page ID
                                       #:4185



                      Le-Vel understands this request, as revised, to seek an admission as to whether
 1             Le-Vel had actual knowledge of TNC’s use of the THRIVE Mark on Skincare Products
 2             (as understood and defined by Le-Vel in the general objections above) before Le-Vel
               began distributing or offering for sale any Thrive Skin Products. Le-Vel objects to this
 3             request on the ground that, as revised, it calls for the admission of a legal conclusion
               because “actual knowledge” is a legal question.
 4                    Subject to the above general and specific objections, and to the extent this
               request is understood, Le-Vel denies that it knew of TNC’s use of the THRIVE Mark on
 5             Skincare Products (as understood and defined by Le-Vel in the general objections
 6             above) before Le-Vel began selling or offering for sale its Thrive Skin Products.
               Otherwise, Le-Vel is unable to admit or deny this request.
 7    SPECIAL MASTER’S RULING REGARDING RFA NO. 7
 8             The parties present a dispute regarding the term “Skincare Products” as it appears in this
 9    RFA. In its general definitions, TNC defined the term to mean “topical preparations for cleansing,
10    moisturizing, or protecting the skin, namely lotions, creams, toners, balms, serums, sunscreen,
11    ointments, gels, cleansers, and moisturizers.” In its general objections in response, Le-Vel states
12    that “Le-Vel understands ‘Skincare Products’ to be those products currently offered under its [i.e.,
13    Le-Vel’s] THRIVE SKIN brand.” Le-Vel defends its decision to redefine the term “Skincare Products”
14    in its opposition to TNC’s RFA Motion. But Le-Vel’s explanation does not adequately address the
15    fact that its definition wholly undercuts the intent of RFA No. 7. Using Le-Vel’s proposed definition
16    would change RFA No. 7 to read: “Admit that Le-Vel knew of TNC’s use of the THRIVE Mark on
17    [those products currently offered under Le-Vel’s THRIVE SKIN brand] before Le-Vel began selling or
18    offering for sale any Thrive Skin Products.”
19             For purposes of this RFA, it is clear that the term “Skincare Products” is referring to TNC’s
20    own products. And here, the Special Master must note that TNC did not challenge the sufficiency of
21    Le-Vel’s responses to any other RFAs that use the term “Skincare Products.” Only RFA No. 7 is at
22    issue. Thus, the Special Master does not consider TNC’s assertion that “TNC intended the term to
23    have a broad scope and cover all different types of skincare products on the market.” (RFA Mot.
24    at 4.)
25             The Special Master’s tentative ruling directed Le-Vel to supplement its response to this RFA,
26    with the understanding that the term “Skincare Products” as used in RFA No. 7 means “products
27    currently or previously offered by TNC.”
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 12 of 24 Page ID
                                       #:4186



 1           Le-Vel voiced objections to this tentative determination. Among other things, it argued that

 2    the Special Master’s tentative ruling would essentially require Le-Vel to admit that TNC’s previous

 3    products have included skincare products. Le-Vel asserted that although TNC has sold products

 4    longer than Le-Vel has, TNC did not begin marketing and selling what Le-Vel would characterize as

 5    skincare products until after Le-Vel’s THRIVE Skin brand products came to market. TNC argued that

 6    the hearing before the Special Master was the first time Le-Vel had raised this dispute about the

 7    nature of TNC’s products, and TNC disagreed with Le-Vel’s position on the merits.

 8           But during the hearing, Le-Vel also suggested that its concerns with RFA No. 7 could be

 9    addressed by an inquiry along the lines of: “did Le-Vel know of TNC’s products before Le-Vel

10    launched its THRIVE Skin brand products?” According to Le-Vel, such a question would avoid the

11    disputed issue of whether TNC’s earlier products were indeed skincare products. When given the

12    opportunity to respond to Le-Vel’s proposal, TNC continued to reiterate its substantive position that

13    it has sold skincare products since before Le-Vel’s THRIVE Skin product launch.

14           On the current record, the Special Master won’t decide the parties’ substantive dispute

15    about whether TNC’s products are skincare products. Nor will the Special Master decide whether

16    this issue has been timely raised. The Special Master finds Le-Vel’s proposal at the hearing to be

17    reasonable. The Special Master GRANTS TNC’s motion in that Le-Vel must further supplement its

18    response to RFA No. 7, with that RFA restated to say: “7. Admit that Le-Vel knew of TNC’s use of the

19    THRIVE Mark on Skincare Products before Le-Vel began selling or offering for sale any Thrive Skin

20    Products.” Le-Vel’s response to this RFA will not be considered a concession as to the nature or

21    categorization of TNC’s products as skincare products or otherwise.

22           2.5    RFA NO. 111

23    REQUEST FOR ADMISSION NO. 111:
24                 111. Admit that the Thrive Frozen Registration is owned by a third party
      RESPONSE TO ADMISSION NO. 111:
25                 Le-Vel objects to this request to the extent it seeks information unavailable to
           Le-Vel, within the public domain, equally available to TNC or its counsel, and/or already
26         within TNC’s or its counsel’s knowledge, possession, custody, or control.
                   Le-Vel objects to this request to the extent that it seeks information not within
27         its possession, custody or control, and purports to require Le-Vel to conduct discovery
28         of or to investigate third parties, or reply on behalf of persons over whom Le-Vel
           exercises no control or on whose behalf Le-Vel has no authority to respond.
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 13 of 24 Page ID
                                       #:4187



                     Le-Vel objects to this request on the ground that “owned by a third party” is
 1            vague, ambiguous, and undefined.
 2                   Subject to the above general and specific objections, and to the extent this
              request is understood, Le-Vel admits that the Thrive Frozen Registration is owned by
 3            Thrive Frozen Nutrition, Inc.

 4    SPECIAL MASTER’S RULING REGARDING RFA NO. 111

 5            Le-Vel’s opposition brief provided an explanation for its response to RFA No. 111. Following

 6    a meet and confer between the parties, TNC proposed that the term “third party” in this RFA be

 7    defined as “not a related company, parent, subsidiary, or controlled by Le-Vel.” (RFA Opp’n at 5.) Le-

 8    Vel’s opposition states,

 9            [t]he introduction of ‘controlled by Le-Vel’ added vagueness and ambiguity because,
              as TNC knows, Le-Vel is a party to an agreement with Thrive Frozen Nutrition that
10            required amendments to the Thrive Frozen Registration. [Citation Omitted.] Whether
11            this constitutes “control by Le-Vel” is unclear, and Le-Vel is thus not in a position to
              further supplement its response, nor should it need to as it [h]as already admitted who
12            owns the registration.

13    (Id.)

14            Le-Vel’s arguments are persuasive, and TNC does not clarify its position regarding “control”

15    in its reply brief in response to these opposition arguments. At the hearing, TNC urged that RFA

16    No. 111 includes no reference to the concept of “control” and calls for a simple answer. TNC also

17    asserted that it simply wanted to know if the owner of the Thrive Frozen Registration is a third party

18    or is related in some way to Le-Vel. But TNC did not adequately explain the updated definition of

19    “third party” that it provided to Le-Vel during the parties’ meet and confer efforts.

20            The Special Master DENIES TNC’s motion to compel a further response to RFA No. 111.

21            2.6    CONCLUSION AS TO TNC’S MOTION TO COMPEL FURTHER RFA RESPONSES

22            The Special Master GRANTS TNC’s motion as to RFA Nos. 5–7 in that Le-Vel is ORDERED to

23    further supplement its responses to these RFAs in the manners described in Sections 2.2

24    through 2.4 of this Order.

25            Le-Vel’s further supplemental responses must be served no later than seven days after this

26    dispute is finally resolved by Judge Carter or, if objections to any of the particular RFAs at issue by

27    this motion are not filed, seven days after the deadline to file objections has passed.

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 14 of 24 Page ID
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 1           The Special Master DENIES TNC’s motion as to RFA Nos. 4 and 111 on the merits, and

 2    DENIES TNC’s motion as to RFA No. 76 AS MOOT.

 3    3.     LE-VEL’S DISCOVERY MOTION

 4           3.1     DISPUTES INVOLVING ECOMUNDI

 5           Preliminarily, the parties dispute whether the Special Master has the authority to resolve

 6    discovery disputes involving a company called “Ecomundi Ventures, LLC.” There is barely any

 7    information provided about Ecomundi in general, let alone information regarding the Special

 8    Master’s authority over Ecomundi.

 9           The Special Master gleans that Ecomundi is “a pass-through entity” somehow related to

10    TNC. (Le-Vel Reply at 3 n.6.) TNC has identified the same individual – Adam McIntosh – as the

11    corporate designee for both TNC and Ecomundi. Ecomundi also apparently previously owned TNC’s

12    THRIVE mark and “allegedly assigned” the mark to TNC in 2013. (Le-Vel Mot. at 5.) In addition,

13    there is no dispute that same counsel represents both Ecomundi and TNC. (Le-Vel Mot. at 1 n.1.)

14           In presenting arguments about whether the Special Master has authority over discovery

15    disputes involving Ecomundi, the parties’ briefs provide no real explanation or reference to caselaw.

16    TNC’s opposition states that Ecomundi “is not a party to any agreement with the Special Master, so

17    Le-Vel has improperly brought this discovery letter against it here.” (Le-Vel Opp’n at 1; see also id.

18    at 3, 4.) Le-Vel’s reply responds in a footnote by stating, “Ecomundi already complied-in-part with

19    this Court’s deposition and document subpoenas, thereby submitting to the jurisdiction of the

20    Special Master.” (Le-Vel Reply at 1 n.1.) At the hearing, Le-Vel made additional substantive

21    arguments about why more time was needed for a Rule 30(b)(6) deposition of Ecomundi. But

22    neither party presented any further argument about the threshold question of the Special Master’s

23    authority to rule on discovery disputes involving a third party.

24           The parties have not provided enough information for the Special Master to resolve the

25    important issue of the scope of his authority to resolve discovery disputes involving third parties. In

26    the absence of a basis for authority, the Special Master must DENY Le-Vel’s motion on the issues
27    related to Ecomundi.

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 15 of 24 Page ID
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 1            3.2      LE-VEL’S REQUESTS TO COMPEL FURTHER DEPOSITIONS

 2            As part of Le-Vel’s motion, Le-Vel requests that TNC be compelled to produce (1) a corporate

 3    designee for TNC for an additional three hours, (2) a corporate designee for Ecomundi for two

 4    additional hours, and (3) Adam McIntosh as a Rule 30(b)(1) for “the remainder” of his deposition

 5    (i.e., six hours).

 6            TNC previously designated the same person – Adam McIntosh – as TNC’s corporate

 7    designee, Ecomundi’s corporate designee, and as a Rule 30(b)(1) witness. The parties ran into

 8    some difficulties scheduling three days of deposition for McIntosh. All parties delayed in scheduling

 9    certain fact depositions before the Scheduling Order deadline, and additional issues ultimately led

10    the parties to schedule just two days for McIntosh’s three depositions.

11            The deposition of McIntosh as a Rule 30(b)(6) designee for TNC occurred on April 5 and

12    started at 10:00am. During the course of the deposition, “TNC’s counsel discovered that an

13    internal error in a prior document production had led to 28 documents [totaling 72 pages] not

14    being produced.” (Le-Vel Opp’n at 2.) TNC immediately made the files available during the

15    deposition itself – including by batch emailing some smaller subset of the documents directly to Le-

16    Vel’s counsel and later sending a link to access all 28 – but “Le-Vel’s counsel was unable to access

17    the production [of the full 28 documents] before Ecomundi’s deposition began, as it was flagged by

18    IT systems as potentially malicious.” (Le-Vel Mot. at 2.)

19            The next day, again beginning at 10:00am, Le-Vel took McIntosh’s deposition as a Rule

20    30(b)(6) designee for Ecomundi for about four hours. TNC’s counsel made native versions of “a few

21    other documents” available during this second deposition. (Le-Vel argues that this was because the

22    document had previously “been produced with an incorrect date” creating an “error” that TNC was

23    seeking to correct, while TNC argues that it provided the additional documents in native form as a

24    courtesy and was under no obligation to do so.) Le-Vel then switched gears that afternoon and

25    began taking McIntosh’s deposition as a Rule 30(b)(1) witness around 4:00pm. Even though

26    McIntosh was apparently willing and able to continue being examined, because Le-Vel’s counsel
27    had a sick child at home, the Rule 30(b)(1) deposition was concluded after one hour.

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 16 of 24 Page ID
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 1            As noted, the Special Master does not have sufficient information to assert authority over

 2    Le-Vel’s disputes involving Ecomundi, and will not further address the dispute involving Le-Vel’s

 3    Rule 30(b)(6) deposition of Ecomundi.

 4           As to Le-Vel’s Rule 30(b)(6) deposition of TNC, noticeably absent from Le-Vel’s letter briefs is

 5    a description of any information contained in the 28 documents that requires investigation through

 6    a further deposition. At the hearing, Le-Vel explained that during the deposition itself, TNC’s counsel

 7    referred to the missing documents as “key” and important to TNC’s case. The missing documents

 8    apparently included documents to support TNC’s claims of first use in commerce. TNC did not

 9    refute these characterizations or attempt to downplay the importance of these materials. Instead,

10    TNC urged again that Le-Vel could have reviewed the documents “on the fly” and asked questions

11    about them either the same day or during the depositions the following day.

12           Considering the arguments presented, the Special Master GRANTS-IN-PART and DENIES-IN-

13    PART Le-Vel’s motion to compel on this issue and finds that a one-hour additional Rule 30(b)(6)

14    deposition of TNC is warranted, solely to explore topics related to the late-produced documents.

15    Given the undisputed critical nature of the documents at issue, Le-Vel should be able to explore

16    their contents after adequate time for review and preparation. But Le-Vel has not shown that more

17    than one hour of additional deposition time is warranted, particularly after it otherwise conducted a

18    6.5-hour deposition of TNC, including asking questions about TNC’s responses to certain

19    interrogatories that referenced the non-produced documents.

20           As to a deposition of McIntosh as a Rule 30(b)(1) witness, the parties primarily raise

21    disagreements about what transpired when they were attempting to schedule fact witness

22    depositions. They also disagree about whether another attorney could have either stepped in to

23    examine or examined-in-full for McIntosh’s Rule 30(b)(1) deposition when it became apparent that

24    the examining attorney needed to return home to a sick infant. Again absent in the briefs were any

25    arguments about the substance of what additional information would be sought through the

26    remainder of McIntosh’s Rule 30(b)(1) deposition.
27           At the hearing, Le-Vel argued that McIntosh, as TNC founder and CEO, is a critical witness in

28    this case. But Le-Vel did not meaningfully explain how the Rule 30(b)(6) testimony it obtained from

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 17 of 24 Page ID
                                       #:4191



 1    McIntosh, who testified on behalf of both TNC and Ecomundi, was insufficient and necessitated

 2    more time with McIntosh in his individual capacity.

 3           Nor did Le-Vel provide a satisfactory explanation for why more time could not have been

 4    spent examining this witness on the two days he was made available. The Special Master will not

 5    get into the particulars of the parties’ scheduling disputes except to say that both parties rushed to

 6    schedule many depositions just ahead of the applicable deadline, and both appeared to make

 7    reasonable efforts to schedule many depositions to occur over the span of one to two weeks. In

 8    these circumstances, TNC’s proposal to take the depositions of the same person operating under

 9    three different “hats” in two days rather than three days is not unreasonable. The Special Master

10    also questions why another attorney could not have stepped in to take the Rule 30(b)(1) deposition

11    and why the depositions scheduled for that day could not have started earlier. Le-Vel’s explanations

12    on these two points, both in briefs and at the hearing, were not particularly persuasive.

13           Despite these various concerns, the Special Master finds that fundamental fairness

14    supports permitting two additional hours of Rule 30(b)(1) deposition time with McIntosh. The

15    Special Master accordingly GRANTS-IN-PART and DENIES-IN-PART Le-Vel’s motion to compel further

16    time for McIntosh’s Rule 30(b)(1) deposition.

17           3.3    LE-VEL’S REQUESTS TO COMPEL FURTHER RESPONSES TO RFPs

18           Le-Vel asks the Special Master to compel TNC and Ecomundi to provide further responses to

19    certain of Le-Vel’s requests for production. For the reasons previously stated regarding the scope of

20    his authority, the Special Master DENIES Le-Vel’s motion to compel further responses to RFPs as it

21    relates to Ecomundi.

22           Le-Vel requests that TNC produce documents responsive to Le-Vel’s RFPs Nos. 66, 67,

23    and 69. Those RFPs request the following.

24    REQUEST FOR PRODUCTION NO. 66:
25         All documents referring or relating to TNC’s alleged September 5, 2013 first sale of
           TNC’s Products in commerce, including but not limited to documents referring or
26         relating to the Products sold, the identity and location of the Person(s) who purchased
           the Products, how the Products were delivered to the Person(s) who purchased the
27         Products, the amount paid for the Products, the bank account into which the proceeds
           from the sale were deposited, the Person(s) who own(s) that bank account, the sales
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 18 of 24 Page ID
                                       #:4192



           taxes collected and paid for the first sale of TNC’s Products, and how such sale was
 1         reported on any 2013 federal or state tax filings.
 2    REQUEST FOR PRODUCTION NO. 67:
           All documents referring or relating to TNC’s alleged second sale of TNC’s Products in
 3         commerce, including but not limited to documents referring or relating to the Products
           sold, the identity and location of the Person(s) who purchased the Products, how the
 4         products were delivered to the Person(s) who purchased the Products, the amount
           paid for the Products, the bank account into which the proceeds from the sale were
 5         deposited, the Person(s) who own(s) that bank account, the sales taxes collected and
 6         paid for the second sale of TNC’s Products, and how the second sale was reported on
           any federal or state tax filings for the year in which such sale was made.
 7    REQUEST FOR PRODUCTION NO. 69
           All documents referring or relating to TNC’s accounting for the assignment of TNC’s
 8         Marks, including but not limited to financial statements, ledgers, and federal and state
           tax returns sufficient to show how the consideration tendered for the Nunc Pro Tunc
 9         Assignment and/or Technology Assignment was recorded, whether the transactions
           were recorded as an asset acquisition/purchase, and how such transactions were
10
           reported on all state and federal tax filings.
11

12           Le-Vel argues the following.

13           [e]ach of these requests relates to tax returns in 2013—the year that TNC’s THRIVE
             mark was allegedly assigned from Ecomundi to TNC—and the years that TNC’s first and
14           second sales in commerce allegedly occurred (presumably 2013 and 2014) . . . . Le-
             Vel requires TNC’s 2013 and 2014 tax returns to determine whether any sales were
15
             reported in those years and how the alleged acquired goodwill from Ecomundi was
16           reported (e.g., as an asset purchase).
      (Le-Vel Mot. at 5.)
17
             In opposition, TNC describes its two transactions from 2013 that it is using to allege first use
18
      in commerce (one that was “not for money” and the other involving $35 cash), and argues that “Le-
19
      Vel does not need access to TNC’s entire 2013 tax return just to see whether or not it accounted for
20
      a single $35 cash sale.” (Le-Vel Opp’n at 4.) TNC otherwise argues that it is “unduly burdensome”
21
      for it to produce its tax returns because they involve “extremely sensitive information that has no
22
      bearing on the issues of [the] case.” (Id.) TNC refers to other evidence that it has already produced
23
      to support its sales during the relevant periods, including in 2014. (Id.)
24
             Le-Vel’s reply argues that “the tax returns go to the core issues of whether TNC’s trademark
25
      registration is invalid due to an improper assignment from Ecomundi absent accompanying
26
      goodwill and whether TNC’s reported first sale occurred when alleged.” (Le-Vel Reply at 3.) Le-Vel
27
      also questions the burden involved in TNC’s production of its tax returns. (Id.)
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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 19 of 24 Page ID
                                       #:4193



 1           But Le-Vel doesn’t explain why discovery of TNC’s full tax returns are necessary in this case

 2    given the other discovery TNC has produced. As TNC notes, tax returns are highly sensitive and in

 3    the circumstances of this case, would include much additional information that is irrelevant to the

 4    parties’ claims. Le-Vel has failed to sufficiently show why the discovery it already has obtained or

 5    can obtain by less intrusive means is insufficient. The Special Master thus DENIES Le-Vel’s motion

 6    to compel further responses to RFPs Nos. 66, 67, and 69 from TNC.

 7           3.4     LE-VEL’S REQUESTS TO COMPEL SUPPLEMENTAL RESPONSES TO RFAs

 8           Finally, Le-Vel asks the Special Master to compel TNC to supplement its responses to RFAs

 9    Nos. 360–74. Le-Vel devotes only two sentences to this request in its opening letter brief (Le-Vel

10    Mot. at 5) and one sentence to this request (plus a footnote) in its reply brief (Le-Vel Reply at 3).

11    TNC primarily opposes Le-Vel’s request on the basis that Le-Vel failed to adequately meet and

12    confer regarding deficiencies in these RFA responses. Le-Vel disputes this point, but the fact

13    remains that the Special Master is provided with no real argument on the substance for these

14    RFAs, and any meet and confer that allegedly did take place happened only the day before this

15    motion was filed. (Nor must it have been very extensive given that the parties cannot agree about

16    whether it even happened.)

17           At the hearing, Le-Vel argued that during meet and confer, Le-Vel inquired regarding whether

18    TNC would agree to supplement RFAs Nos. 360–74. Responding to these RFAs, TNC stated (along

19    with some other objections for certain RFAs) that “TNC objects that this Request seeks tax

20    information from more than eight years ago, and such documentation is no longer in TNC’s

21    possession, custody, or control.” As Le-Vel noted in its briefs and at the hearing, it is unclear

22    whether TNC has conducted its “due diligence” in attempting to obtain the applicable tax

23    information implicated by the RFAs. In responding to Le-Vel’s RFPs requesting production of tax

24    returns, TNC has not similarly asserted that the returns are outside of TNC’s possession, custody, or

25    control. Instead, TNC objects to the request to actually produce the tax returns on relevance and

26    burden grounds.
27           The Special Master has reviewed Le-Vel’s RFA Nos. 360–74 and they seek information

28    relevant to matters in dispute in this case that TNC has acknowledged could be learned from a

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 20 of 24 Page ID
                                       #:4194



 1    review of TNC’s tax information. Supplemental responses to these RFAs that fairly respond to the

 2    questions asked would provide a less burdensome way of permitting Le-Vel to obtain relevant

 3    information from TNC’s tax returns without requiring TNC to produce these highly-sensitive

 4    documents in their entirety. Although meet and confer, as well as argument, on this dispute was

 5    incredibly sparse, the Special Master finds that supplementation of RFA Nos. 360–74 is warranted.

 6           On this record, the Special Master GRANTS Le-Vel’s request to compel further responses to

 7    these RFAs.

 8           3.5       CONCLUSION AS TO LE-VEL’S OMNIBUS DISCOVERY MOTION

 9           The Special Master DENIES Le-Vel’s motion on the issues related to Ecomundi. Le-Vel’s

10    motion to compel TNC’s further responses to its RFP Nos. 66, 67, and 69 is also DENIED.

11           The Special Master GRANTS-IN-PART and DENIES-IN-PART Le-Vel’s motion to compel an

12    additional Rule 30(b)(6) deposition of TNC. Le-Vel is permitted one hour of additional Rule 30(b)(6)

13    deposition time with TNC, solely to ask questions concerning the 28 late-produced documents sent

14    by TNC’s counsel to Le-Vel on the day of the original Rule 30(b)(6) deposition of TNC in this case.

15    The Special Master also GRANTS-IN-PART and DENIES-IN-PART Le-Vel’s motion to compel additional

16    Rule 30(b)(1) deposition time with McIntosh. Le-Vel is permitted two additional hours to examine

17    him. The Special Master directs that these additional depositions shall begin at a date, time, and

18    location mutually agreeable to the parties, but no later than June 30, 2022.

19            The Special Master GRANTS Le-Vel’s motion to compel supplemental responses to RFA

20    Nos. 360–74. TNC’s supplemental responses must be served no later than seven days after this

21    dispute is finally resolved by Judge Carter or, if objections to any of the particular RFAs at issue by

22    this motion are not filed, seven days after the deadline to file objections has passed.

23    4.     CONCLUSION

24           The Special Master now rules as follows.

25                 •   The Special Master GRANTS TNC’s April 20, 2022 motion to compel the deposition of

26                     Jason Camper and RECOMMENDS that the scheduling order in this matter be
27                     AMENDED solely for the purpose of permitting TNC to take its 7-hour, unrestricted

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     Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 21 of 24 Page ID
                                       #:4195



 1                   Rule 30(b)(1) deposition of Camper, to begin at a date, time, and location mutually

 2                   agreeable to the parties but no later than June 30, 2022.

 3               •   The Special Master GRANTS-IN-PART and DENIES-IN-PART TNC’s April 20, 2022

 4                   motion to compel further responses to RFAs as stated in Section 2.6 of this Order

 5                   and explained in the other subsections of Section 2.

 6               •   The Special Master GRANTS-IN-PART and DENIES-IN-PART Le-Vel’s April 20, 2022

 7                   omnibus discovery motion as stated in Section 3.5 of this Order and explained in the

 8                   other subsections of Section 3.

 9           Any redactions to this Order must be submitted to the Special Master’s Case Manager within

10    three Court days of this Order. If none are submitted by that time, Le-Vel is directed to file a copy of

11    this Order with the Court.

12

13

14           THUS IT IS ORDERED.

15
      Dated: June 2, 2022                                                                _
16                                                          Hon. Andrew J. Guilford (Ret.)
17                                                          Special Master

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Case 2:21-cv-02022-DOC-KES Document 107-3 Filed 06/06/22 Page 22 of 24 Page ID
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         I, the undersigned, an employee of Judicate West, located at 1851 E. First Street, Suite 1600, Santa Ana,
 CA 92705 declare under penalty of perjury that I am over the age of eighteen (18) and not a party to this matter
 or proceeding.

         On June 2, 2022, I served the foregoing documents, described as:
    ORDER OF SPECIAL MASTER REGARDING THREE APRIL 20, 2022 MOTIONS: (1) TNC’S
   MOTION TO COMPEL DEPOSITION; (2) TNC’S MOTION TO COMPEL FURTHER RESPONSES
  TO RFA NOS. 4–7, 76, AND 111 OR DEEM THEM ADMITTED; AND (3) LE-VEL’S DISCOVERY
                                      MOTION
         to the following parties:
                                                SEE ATTACHED MAILING LIST

    (X) BY E-MAIL I caused the above-referenced document to be transmitted via electronic
        mail (e-mail) to the parties as listed on this Proof of Service
    ( ) BY ELECTRONIC FILING I caused such document to be sent via electronic service
        by submitting an electronic version of the document(s) to One Legal, LLC, through the
        user interface at www.onelegal.com.
    ( ) BY FASCIMILE I caused the above-referenced document to be transmitted via
        facsimile to the parties as listed on this Proof of Service. The document was transmitted
        by facsimile transmission and the transmission was reported as complete and without
        error.
    ( ) BY PERSONAL SERVICE I personally delivered the documents to the persons at the
        address (es): by leaving the documents at the person (s) office, in an envelope or package
        clearly labeled to identify the person(s) being served, with a receptionist or an individual
        in charge of the office.
    ( ) BY UNITED STATES PARCEL SERVICE I am readily familiar with the business'
        practice for collection and processing of correspondence and mailing with the United
        States Postal Service; such correspondence would be deposited with the United States
        Postal Service the same day of deposit with postage thereon fully prepaid at Santa Ana,
        California in the ordinary course of business
    ( ) STATE I declare under penalty of perjury under the laws of the State of California that
        the foregoing is true and correct.
    ( ) FEDERAL I declare that I am employed in the office of a member of the bar of this
        court at whose direction the service was made.
 Executed on June 2, 2022, at Santa Ana, California

                                                                                   Heidi Adams
                                                                                   Judicate West


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